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                       UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TEXAS
                            SHERMAN DIVISION


 THE STATE OF TEXAS, ET AL.                §
                                           §
 v.                                        §   CIVIL NO. 4:20-CV-957-SDJ
                                           §
 GOOGLE LLC                                §

                                      ORDER

      Before the Court are motions by the State of Louisiana, (Dkt. #126), and the

State of South Carolina, (Dkt. #128), to intervene in the above-captioned matter.

Notably, neither motion is accompanied by a complaint setting forth the claims either

state plans to pursue in this case. Federal Rule of Civil Procedure 24(c) provides that

a motion to intervene “must . . . be accompanied by a pleading that sets out the claim

or defense for which intervention is sought.” The text of the rule, which is

unequivocal, contemplates that the Court will determine whether an intervenor’s

claims “share[] with the main action a common question of law or fact,” FED. R. CIV.

P. 24(b)(1)(B), by examining the complaint setting forth the intervenor’s claims.

Louisiana and South Carolina have failed to comply with Rule 24(c) and must each

supplement their respective motions to intervene with a complaint setting forth the

claims they seek to pursue in this case.

      It is therefore ORDERED that, on or before August 6, 2021, the State of

Louisiana and the State of South Carolina must supplement their motions to

intervene with a complaint that sets out the claim or claims for which intervention is




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sought. The complaint may take the form of an amended complaint filed with the

other Plaintiff States.

            So ORDERED and SIGNED this 23rd day of July, 2021.




                                                    ____________________________________
                                                    SEAN D. JORDAN
                                                    UNITED STATES DISTRICT JUDGE




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